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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
KAREN MILLS §
VS. : CIVIL ACTION NO.: 20-CV-1409
WALMART STORES, INC. : JURY DEMANDED

DEFENDANT’S NOTICE OF REMOVAL

Defendant, Walmart Stores, Inc. (now known as Walmart Inc.)! files this Notice of

Removal pursuant to 28 U.S.C. § 1441, as follows:
Commencement and Service

1. On September 3, 2020, Plaintiff, Karen Mills commenced this action against Walmart
Stores, Inc. by filing Plaintiffs Original Petition in County Court at Law No. 10, Bexar County,
Texas; Cause No. 2020cv04280; Karen Mills v. Walmart Stores, Inc. A copy of Plaintiffs
Original Petition is attached hereto as Exhibit A. Walmart Stores, Inc. (now known as Walmart
Inc.) received service of process and Plaintiff's Original Petition on November 16, 2020. A copy
of CT Corporation Service of Process Transmittal and executed Citation are attached hereto as
Exhibit B.
2. On December 4, 2020, Walmart Stores, Inc. (now known as Walmart Inc.) filed its
Original Answer to Plaintiff's Original Petition which is attached as Exhibit C and Demand for
Jury Trial, attached as Exhibit D.
3. This notice of removal is filed within thirty days (30) of the receipt of the Plaintiff's
Original Petition which discloses that this matter involves an amount in controversy exceeding

$75,000.00, and is timely filed under 28 U.S.C. § 1446(b). This notice of removal is filed

 

' Wal-Mart Stores, Inc.’s name changed to Walmart Inc. on February 1, 2018.

 

 
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within one year of the commencement of this action and is thus timely pursuant to 28 U.S.C. §
1446(b).

Grounds for Removal
4, Walmart Stores, Inc. (now known as Walmart Inc.) is entitled to remove the state court
action to this Court pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 because this action is a civil
action involving an amount in controversy exceeding $75,000.00 between parties with diverse
citizenship. (See paragraph 8.1 of Plaintiff?s Original Petition — Exhibit A).

Diversity of Citizenship

5, This is an action between parties with diversity of citizenship.
6. Plaintiff is a resident of San Antonio, Bexar County, Texas.
7. Defendant, Walmart Stores, Inc. (now known as Walmart Inc.) is a Delaware corporation

with its principal place of business in Bentonville, Arkansas’.

8. No change of citizenship has occurred since commencement of the state court action.
Accordingly, diversity of citizenship exists among the parties.

Amount in Controversy
9, The amount in controversy exceeds the sum of $75,000. (See paragraph 8.1 of
Plaintiff’s Original Petition — Exhibit A).

Venue

10. Venue lies in the Western District of Texas, San Antonio Division, pursuant to 28 U.S.C.
§§ 1441 (a) and 1446(a) because the Plaintiff filed the state court action in this judicial district

and division.

 

* The name change for Walmart Stores, Inc. to Walmart Inc. was a change in name only. The state of incorporation
in Delaware and the principal place of business in Bentonville, Arkansas remained the same.

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Notice

11. Contemporaneous with the filing of this notice of removal, Defendant will give notice of
this filing to all parties of record pursuant to 28 U.S.C. § 1446(d). Defendant will also file with
the clerk of the state court, and will serve upon Plaintiff's counsel and all other parties”’ counsel
of record, a notice of the filing of this notice of removal.

Jury Demand
12. Defendant, Walmart Stores, Inc. (now known as Walmart Inc.) demanded a jury trial in
the state court action.

State Court Pleadings

13. Copies of state court pleadings which are referenced within the Notice are attached to this
Notice of Removal as Exhibits A through D. This case is being removed from County Court
at Law No. 10, Bexar County, Texas.

Exhibits to Notice of Removal

14. The following documents are attached to this Notice as correspondingly lettered exhibits:
A. Plaintiffs Original Petition.
B. CT Corporation Service of Process Transmittal and Executed Citation.
C. Defendant, Walmart Stores, Inc.’s Original Answer to Plaintiffs Original Petition.
D. Defendant, Walmart Stores, Inc.’s Demand for Jury Trial,
E. District Clerk’s Case History.
F, List of Counsel of Record.

WHEREFORE, Defendant Walmart Stores, Inc. (now known as Walmart Inc.) pursuant
to the statutes cited herein and in conformity with the requirements set forth in 28 U.S.C. § 1446,

removes this action from County Court at Law No. 10, Bexar County, Texas.

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Respectfully submitted,

DAW & RAY
A LIMITED LIABILITY PARTNERSHIP

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ATTORNEYS FOR DEFENDANT,
WALMART STORES, INC.

CERTIFICATE OF SERVICE

The undersigned does hereby certify that a true and correct copy of the above and
foregoing instrument has been served upon all known counsel of record in accordance with the
FRCP on this the 10" day of December, 2020.

Clay Bonilla

The Law Offices of William Bonilla, P.C.
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/s/ James K. Floyd
James K. Floyd

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